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IN THE UNITED STATES DISTRICT COURT Q"`“D'C»
FoR THE WESTERN DISTRICT OF TENNESSE%5 AUG 12 pH 3, 29

EASTERN DIVISION `;-£_._,~_; t 7
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UNITED sTATEs OF AMERICA, ) lth ar ,f;§§éggum
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Plaintif`f`, )
)
)
V. ) NO. 03-10033-T
)
)
CURTIS JEROME MURPHY, )
)
Defendant. )

 

ORDER DENYING DEFENDANT’S MOTION FOR
RETURN OF PERSONAL PROPERTY

 

Defendant, Curtis Murphy, was convicted along With a co-defendant, Andrew
Bryant, of aiding and abetting each other in possessing with intent to distribute cocaine
base and marijuana Both Were also convicted of possession of a firearm during and in
relation to drug trafficking During the course of a police investigation, defendant’s
residence Was searched and pieces of his property were seized, including $3089.00 in
cash, four television sets, two automobile television sets, three DVD players, four
stereos, two gold necklaces, three gold rings, five cellular phones, and other materials.
Def`endant challenged the constitutionality of the search but the district court denied his

motion to suppress the evidence Thc Sixth Circuit upheld defendant’s conviction.

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United States v. Brvant, 2005 WL 1312473 (6th Cir., May 13, 2005). Meanwhile, the
State of Tennessee instituted forfeiture proceedings against defendant authorized by 21
U.S.C. § 881, Which provides for the forfeiture of property used in drug trafficking
Defendant’s mother, Carolyn Murphy, served as the claimant in the proceedings As a
result of the forfeiture proceedings, the property Was forfeited to the State. Before the
court is defendant’s motion filed pursuant to Fed. R. Crim. P. 4l(e), seeking return of his
personal property.

The administrative forfeiture proceedings against defendant commenced and
concluded prior to the filing of this motion. The Sixth Circuit has held that a defendant
may not bypass a civil forfeiture action filed by the government using Rule 4l(e). §§
Shaw v. United States, 891 F.2d 602, 603 (6th Cir. 1989). Therefore, defendant may not
avail himself using a Rule 4l(e) motion.

For the foregoing reasons, the court DENIES defendant’s motion for return of

personal property.

IT IS SO ORDERED.

MA.M

JA S' 1'). TODD
ED sTATEs DIsTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 142 in
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Honorable J ames Todd
US DISTRICT COURT

